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                          IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION



 SJR DEVELOPMENT LLC,                              CASE NO.: 1:21-CV-647

            Plaintiff,

 v.

                                                   DEMAND FOR JURY TRIAL

 ALLTEX REFINERY LLC, ALLTEX
 OPERATING COMPANY,
 RUSSELL L. VERA, AMIDEE A. VERA,
 AND ARTHUR K. VERA

            Defendants.



               PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND

       Plaintiff, SJR Development, LLC (“Plaintiff” or “SJR”) hereby files this Complaint against

Alltex Refinery LLC, Alltex Operating Company, Russell Vera, Amidee A. Vera, Arthur K. Vera

(collectively, “Defendants”) for breach of contract, fraud, securities violations, violation of the

Racketeer Influenced and Correct Organization Act, 18 U.S.C. § 1964(c) (“RICO”), breach of

fiduciary duty and civil theft, and hereby alleges as follows:

                                         THE PARTIES

       1.        Plaintiff, SJR Development, is a four-member New Mexico limited liability

company that maintains its principal place of business at 401 S. Main Street, Carlsbad, New

Mexico 88221. The four (4) members of SJR are residents of and domiciled in the state of New

Mexico.




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         2.      Defendant Alltex Refinery LLC is a Texas limited liability company that maintains

its principal place of business at 402 W. Davis Street, Suite A, Luling, Texas 78648. Defendant

Alltex Refinery LLC is comprised of two members, Arthur K. Vera and Amidee A. Vera, both of

whom are domiciled in and reside in the state of Texas. Defendant Alltex Refinery LLC may be

served through its registered agent, Russell L. Vera, at 402 W. Davis Street, Suite A, Luling, Texas

78648.

         3.      Defendant Alltex Operating Company is a Texas for profit corporation that

maintains its principal place of business at 402 W. Davis Street, Ste. A, Luling, Texas 78648.

Defendant Alltex Operating Company can be served through its registered agent, Russell L. Vera,

at 756 Saengerhalle, New Braunfels, Texas 78132.

         4.      Defendant Russell L. Vera (“Defendant R Vera”) resides in and is domiciled in the

state of Texas, and in this judicial district.

         5.      Defendant Amidee A. Vera (“Defendant A Vera”) resides in and is domiciled in

the state of Texas, and in this judicial district.

         6.      Defendant Arthur K. Vera (“Defendant AK Vera”) resides in and is domiciled in

the state of Texas, and this judicial district.

         7.      Plaintiff is informed and believes, and on that basis alleges, that at all relevant times

mentioned in this Complaint, Defendants, and each of them, were acting in concert and active

participation with each other in committing the wrongful acts alleged herein. Defendants were the

agents of each other, acting within the scope and authority of that agency, with the knowledge,

consent and approval of each other. Further, Plaintiff is informed and believes and based thereon

alleges that Defendants, and each of them, are the alter ego of one another in that neither of the

business entities are or were properly capitalized, corporate formalities which are and were not




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followed, and that the individual RICO Defendant Russell L Vera uses the RICO entity shells for

his own personal affairs and to achieve the results or the scheme.

        8.       Plaintiff does not presently know the true names and capacities of the Defendants

named as DOES 1 through 10 and therefore sues such Defendants by these fictitious names.

Plaintiff believes that the Doe Defendants are persons or entities who are involved in the acts set

forth below, either as independent contractors, agents, or employees of the known Defendants, or

through entering into a conspiracy and agreement with the known Defendants to perform these

acts, for financial gain and profit, in violation of Plaintiff’s rights. Plaintiff will request leave of

Court to amend this Complaint to set forth their true names, identities and capacities when Plaintiff

ascertains them. The Doe Defendants and the known Defendants are referred to collectively as

“Defendants”.

                                  JURISDICTION AND VENUE

        9.       The District Court has subject matter jurisdiction over Plaintiff’s claims pursuant

to 28 U.S.C. § 1331 because this action arises from violations of 18 U.S.C. § 1964(c); 15 U.S.C.

§ 78j(b), Section 10(b); and 17 C.F.R. § 240.10b-5. The District Court has subject matter

jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. § 1332 because Plaintiff resides in a

different state than each Defendant and the amount in controversy exceeds the jurisdictional limits

of this Court. This Court also enjoys supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a)

over Plaintiff’s state law claims.

        10.      The Court has personal jurisdiction over Defendants because each Defendant has

committed tortious and unlawful conduct in the United States and the state of Texas that they knew

would cause and which did in fact cause injury to Plaintiff in the state of Texas and this judicial

district; and each Defendant engaged in interstate commerce between the state of Texas and New




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Mexico. Personal jurisdiction over each Defendant is also proper because Defendant Alltex

Refinery LLC is a registered Texas limited liability company with its principal place of business

in this judicial district; Defendant Alltex Operating Company is a Texas for profit corporation with

its principal place of business in this judicial district; individual Defendants R Vera, A Vera and

AK Vera reside in and are domiciled in the state of Texas and this judicial district; and a substantial

part of the events giving rise to the claims and the injury felt by Plaintiff alleged herein occurred

in Texas and this judicial district.

        11.      Venue is proper in the Western District of Texas pursuant to 28 U.S.C. § 1391(b)(2)

as a substantial part of the events or omissions giving rise to the claims and the actual harm to

Plaintiff occurred in this District by reason of the Defendants’ conduct as alleged below. Venue

for the RICO claim is also proper in this Court pursuant to 18 U.S.C. § 1965(a) because this is a

district in which the RICO entities and RICO individuals transacts their affairs. Venue is also

proper in any judicial district in which any defendant would be amenable to personal jurisdiction.

              FACTUAL ALLEGATIONS RELATING TO PLAINTIFF’S CLAIMS

        12.      Defendants R Vera, A Vera, and AK Vera have operated multiple oil and gas

companies under various names within various regions of the United States, including Defendant

Alltex Refinery and Defendant Alltex Operating. Defendant R Vera carries a long history of legal

problems with regard to unauthorized fundraising while operating oil companies within the states

of Alaska, California, Washington, and Wisconsin.

        13.      Defendants, by means of a scheme designed to defraud SJR of its investments,

made material misrepresentations and omissions of fact to SJR concerning the financial condition

of Alltex as well as the use and misappropriation of SJR’s resources as alleged herein.




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         14.      On or around June 7, 2020, Stacy E. Bowman, a member of SJR, was introduced

in person to Defendant R Vera at 402 W. Davis Street, Suite A, Luling, Texas 78648 by Allen

Chavez of Paragon Industries as a potential investment opportunity in Defendants’ business for

the purchase and sale of crude oil.

         15.      Through a series of interstate wires, such as electronic mail and text messages, as

well as phone calls, beginning on or around June 7, 2020 and continuing through June 17, 2020,

Defendant R Vera made material oral and written representations about an investment opportunity

in Defendant Alltex’s oil trading business to Mr. Bowman. Defendants unlawfully made use of

means of communication, such as text messages and electronic attachments to text messages, in

interstate commerce or of the mails for the purposes of offering, selling, or delivering unregistered

securities to Plaintiff.

         16.      On or around June 17, 2020, Tylor Scott, acting as an agent for Defendants,

transmitted through electronic mail to Plaintiff’s principal, Mr. Bowman, a proposed ten percent

(10%) equity investment opportunity in Defendant R Vera’s company, Defendant Alltex Refinery

in exchange for $250,000.00. Through this communication, Mr. Scott represented he had

previously invested with Defendant R Vera prior to forming Alltex in November 2017, Defendant

Alltex had been actively buying and selling oil and needed to expand, specifically stating that

Defendant Alltex had a great reputation with several crude sellers, and that the business value

should exceed $5,000,000.00. Mr. Scott further attached a Negotiated Transaction Offering Term

sheet.

         17.      Through a series of interstate wires, such as electronic mail and text messages, as

well as phone calls, beginning on or around June 10, 2020 and continuing through at least July 10,

2020, Defendant R Vera made material representations about an investment opportunity in




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Defendant R Vera’s oil trading business to Mr. Ryan Jefferson that did not include an equity

ownership interest in Defendant Alltex Refinery.

       18.       The material misrepresentations made to Mr. Bowman by Defendant R Vera on

behalf of and within his scope of employment with Defendant Alltex Refinery in order to induce

Plaintiff into investing in Defendants’ oil and gas business include, inter alia, the following:

             •   Defendant Russell L. Vera texted Mr. Bowman on June 9, 2020 representing that

                 the deal was done for the Katerina project, the reason he was seeking investment

                 from Plaintiff, that he could start delivering four loads a day of oil beginning on the

                 first, and that it would get Plaintiff € 20,000.00 per month.

       19.       These representations were false at the time they were made and were made by

Defendant R Vera individually and on behalf of Defendants with knowledge that they were false

because the Katerina project was not done, four loads a day of oil was never delivered, and Plaintiff

would never and did not ever receive € 20,000.00 per month.

       20.       The representations made by Defendant R Vera individually and on behalf of

Defendants were material to SJR investing in Defendant Alltex’s business. The representations

were also material to SJR entering into an investment agreement with Defendant Alltex.

       21.       Unaware of the falsity of these representations, Plaintiff reasonably relied on

Defendant Alltex Refinery’s and Alltex Operating’s agent Defendant R Vera’s fraudulent

misrepresentations and was thus fraudulently induced in entering into an oil trading investment

agreement with Defendant Alltex.

       22.       SJR entered into two written agreements with Defendant Alltex Refinery. In each

instance, Defendant Alltex Refinery prepared and provided the agreements that were sent via

electronic mail to and signed by one of SJR’s owners and CFO, Mr. Ryan Jefferson.




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       23.      The first agreement, entitled Negotiated Transaction Offering Agreement, is dated

June 29, 2020 (the “June 29, 2020 Agreement”) and was electronically mailed to Mr. Jefferson on

June 30, 2020. The June 29, 2020 Agreement provides in relevant part: “In exchange for $100,000,

the Investor/s receive $2 per barrel from the crude oil that is purchased with their monies on a cash

and carry basis for the Alltex processing facility…”. The initial term of the agreement was for 90

days. The June 29, 2020 Agreement further provided that the oil was self-collateralizing for the

investors until sold, that SJR’s monies would be paid back into an operating account directly for

reuse, and the proceeds from the $2.00 spread per barrel would be distributed to SJR “between the

25th and 1st after the settlement statement is received on the 20th for the previous month.”

       24.      In accordance with the June 29, 2020 Agreement, SJR provided $25,000.00 in

financial capital on June 30, 2020 via wire transfer to Defendant Alltex and then $75,000.00 in

financial capital via wire transfer on July 10, 2020 to Defendant Alltex for a total of $100,000 in

financial capital to Defendant Alltex.

       25.      Once Defendants received SJR’s investment monies, Defendant R Vera provided

limited information to SJR about its investment or the status of Defendant Alltex’s oil trading

business. In one instance, Defendant R Vera provided photographs of trucks getting loaded with

oil for sale. In another instance, Defendant R Vera sent photographs of trucks that he did not own.

In yet another instance, Defendant R Vera informed SJR’s representative, Ryan Jefferson, he had

procured a new buyer that was closer and thus providing a better financial return for SJR on its

investment.

       26.      Defendants provided SJR with an excel spreadsheet, entitled Alltex Acquisition

Fund, on or around August 7, 2020 purportedly reflecting the purchase and sales of oil subject to

the June 29, 2020 Agreement and the amounts of monies owed to Plaintiffs under the June 29,




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2020 Agreement. Defendants’ Alltex Acquisition Fund reflected at least one expected payment to

SJR in the amount of $2,478.00, which was short by twenty dollars implying that Defendants’

financials were inaccurate or unreliable.

       27.      On or around August 10, 2020, Defendant Alltex sent a check to SJR in the amount

of $2,478.00, but it bounced in SJR’s account. On or around August 18, 2020, Alltex paid

$2,481.00 via ACH to cover the bank return fee. This amount was received by SJR.

       28.      Defendants provided SJR with another excel spreadsheet, entitled Alltex

Acquisition Fund and dated August 11, 2020, purportedly reflecting the purchase and sales of oil

subject to the June 29, 2020 Agreement and the amounts of monies owed to Plaintiffs under the

June 29, 2020 Agreement. The August 11, 2020 Alltex Acquisition Fund spreadsheet reflected

another expected payment to SJR in the amount of $3,213.00, with an expected payment date of

September 20, 2020 to October 1, 2020. Defendants Alltex paid SJR $3,213.00 on September 14,

2020 via ACH. On information and belief, these Alltex Acquisition Fund spreadsheets were based

upon incomplete and inaccurate information.

       29.      Defendants’ Alltex Acquisition Fund dated September 14, 2020 reflected another

expected payment to SJR in the amount of $2,347.03, with an expected payment date of October

20, 2020 to November 1, 2020. Defendant Alltex never paid SJR the $2,347.03 owed under the

September 14, 2020 Alltex Acquisition Fund.

       30.      On or before August 13, 2020, Defendant R Vera contacted SJR’s representative

Ryan Jefferson and Stacy E. Bowman by telephone and text message regarding additional

investment opportunities in Defendant Alltex.

       31.      During the time Defendant R Vera was soliciting investments for its oil and gas

trading business, Defendant R Vera introduced Mr. Bowman at SJR to Rick Collette of Capital




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Funding Solutions. Mr. Collette provided factoring services for various entities. Mr. Collette

informed Mr. Bowman on the phone on or around August 6, 2020 that Defendant R Vera had

encountered previous investment legal trouble with the Securities Exchange Commission, but that

Defendant R Vera no longer had any legal trouble. In discussing his factoring services, Mr. Collette

gave Mr. Bowman the impression that his company would be providing factoring services to

Defendant Alltex in support of Defendant Alltex’s investment deal with SJR to buy and sell oil.

       32.       On or around August 13, 2020, Defendant R Vera spoke with Mr. Jefferson and

Mr. Bowman about a further investment opportunity in Defendant Alltex. In this instance,

Defendant Vera solicited an additional $100,000.00 dollars in exchange for a ten percent (10%)

equity interest in Alltex and a corresponding share of Defendant Alltex’s profits.

       33.       During this conversation, as well as through a series of interstate wires, such as

electronic mail and text messages, beginning on or around August 13, 2020 and continuing through

at least September 21, 2020, Defendant R Vera made material representations to Mr. Jefferson

about an investment/ownership opportunity in Defendant Alltex’s oil trading business.

       34.       The material misrepresentations made to Mr. Jefferson by Defendant R Vera

individually and on behalf of Defendant Alltex include, inter alia, the following:

             •   Defendant Vera stated to Mr. Jefferson in at least a written document dated

                 September 19, 2020 that Plaintiff would become a member of Defendant Alltex

                 Refinery LLC with 10% equity interest and that Plaintiff would be entitled to 10%

                 of Defendant Alltex’s profits.

             •   Defendant R Vera also stated verbally on a phone call on or around September 14,

                 2020 and in a text message dated September 20, 2020 to Mr. Jefferson that Plaintiff

                 would be part owners of a piece of property, i.e., a yard, in Smiley, Texas.




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             •   Defendant R Vera verbally guaranteed to Mr. Bowman on September 19, 2020 that

                 Defendant Alltex would provide monthly financial statements to Plaintiff

                 beginning once a deal was in place;

             •   Defendant R Vera verbally guaranteed to Mr. Bowman on September 19, 2020 that

                 Defendant Alltex would make monthly cash distributions within five days as

                 opposed to the industry standard forty-five days through the use of a factoring

                 company once a deal was in place; and

             •   Defendant Vera verbally guaranteed to Mr. Bowman a return on Plaintiff’s

                 investment of at least $100,000.00, the amount of money invested.

       35.       These representations were false because Defendant R Vera never made Plaintiff a

member of Defendant Alltex, never gave Plaintiff 10% equity interest in Defendant Alltex, never

gave Plaintiff 10% of Plaintiff’s profits or gave Plaintiff ownership of a yard purchased by

Defendant Alltex in Smiley, Texas.

       36.       These representations were false at the time they were made and were made by

Defendants with knowledge that they were false because Defendants had no intention of making

SJR a member of Defendant Alltex Refinery or Defendant Alltex Operating, had no intention of

giving SJR ten percent (10%) of its profits, or making SJR co-owners of its new yard in Smiley,

Texas. Further, the representations made by Defendant R Vera on behalf of and as an agent of

Defendants Alltex Refinery and/or Alltex Operating were material to SJR further investing in

Defendants’ business and deciding to become a member of Defendant Alltex Refinery.

       37.       Unaware of the falsity of these representations, SJR reasonably relied on Defendant

R Vera’s fraudulent misrepresentations and was thus fraudulently induced into making further

investments into Defendant R Vera’s oil trading business and in entering into a subsequent



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investment agreement with Defendant Alltex. SJR’s reliance was further reasonable in light of

SJR’s discussions with Mr. Collette about providing factoring services for Defendant Vera’s

business.

       38.     On or around September 20, 2020, Defendant R Vera on behalf of Defendants

transmitted via electronic mail a document entitled Negotiated Transaction Offering Agreement

(“September 20, 2020 Agreement”). SJR entered into the agreement on or around even date.

       39.     On information and belief based upon review of public filings in the Texas

Secretary of State, Defendant R Vera was no longer an owner or member of Defendant Alltex

Refinery and/or Defendant Alltex Operating at the time it solicited investment funds in exchange

for an equity interest in Defendant Alltex Refinery and/or Defendant Alltex Operating.

       40.     Per the September 20, 2020 Agreement, SJR agreed to provide $200,000 in

financial capital, comprising $100,000.00 converted from the previous June 29, 2020 Agreement,

$50,000.00 in new capital infusion and a $50,000.00 note receivable at zero percent (0%) interest

in exchange for “10% Member’s Equity Interest” in Defendant Alltex.

       41.     On or around September 22, 2020, SJR paid an additional $50,000.00 to

Defendants.

       42.     In the September 20, 2020 Agreement, parties agreed Defendant Alltex Refinery

and/or Defendant Alltex Operating will provide “a Schedule 1099-MISC Other Income for July

2020 – August 2020 per Alltex and SJR’s previous agreement” (dated June 29, 2020). “SJR will

receive a K-1 Partner’s (or Shareholder’s) Share of Income, Deductions, Credits, etc. for 10%

interest beginning September 1, 2020 from Alltex.”

       43.     In the September 20, 2020 Agreement, the parties also agreed, “Checks will go out

to the investor every month starting in October 2020 after the settlement statement is received




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between the 20th and the last day of the month, for the duration of the agreement, and financials

will be provided monthly for the previous month.”

       44.     Defendant Alltex breached its obligations under both agreements by, inter alia,

failing to compensate SJR in accordance with the agreed terms, by failing to make SJR a member

of Defendant Alltex, by failing to provide monthly financials, by failing to provide any financials

showing property on the books of Defendant Alltex. Defendant Alltex further breached its

obligations under the September 20, 2020 Agreement by failing to provide both Schedule 1099-

MISC and K-1 Partner’s (or Shareholder’s) Share of Income, Deductions, Credits, etc. from Alltex.

       45.     Defendant R Vera’s deception did not stop after the September 20, 2020 Agreement

was signed. Defendant R Vera made misrepresentation in the course of conducting the business of

Defendant Alltex, or in a transaction in which Defendant R Vera and Defendant Alltex had a

pecuniary interest, for the guidance of SJR in its business as investors in Defendant Alltex;

Defendant R Vera failed to exercise reasonable care or competence in obtaining or communicating

the information about the investment, SJR’s return on investment and payments according to the

terms of the agreements; and SJR suffered pecuniary loss by justifiably relying on the

misrepresentation.

       46.     In one instance, SJR representative Mr. Ryan Jefferson asked Defendant R Vera

about payments and updated financials on or around September 21, 2020. In a response dated

September 25, 2020, Defendant R Vera told Mr. Jefferson payment was coming. No payments or

financials were transmitted to SJR. Instead, SJR received a letter dated October 16, 2020 but not

received until October 21, 2020 on Defendant Alltex Refinery’s letterhead and signed by

Defendant Vera. The letter indicated Defendant Alltex’s offices had been closed for the past 30-

45 days due to COVID 19 and because Defendant R Vera had contracted COVID 19. The letter




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further indicated that Defendant Alltex had been able to secure new contracts and the project would

now become profitable in the month of October 2020.

       47.     Defendants’ October 16, 2020 letter was particularly misleading and deceptive

because Defendant R Vera had been communicating via text message with SJR’s Mr. Ryan

Jefferson continuously between September and October 2020 about soliciting more money from

SJR to become equity owners of Defendant Alltex without ever mentioning COVID 19 or that the

office had shut down for thirty to forty-five days.

       48.     Defendants were also unresponsive to several requests by SJR’s representative,

Ryan Jefferson, to obtain financial information and to inspect Defendants’ books and records.

       49.     On February 9, 2021, SJR’s representative, Ryan Jefferson, informed Defendants

he would be visiting Defendant Alltex’s place of operations on February 24, 2021 to inspect the

books and records. Mr. Jefferson also provided a detailed list of documents SJR was requesting to

have readily available for inspection. This visit was confirmed with Defendants via text message

by Mr. Jefferson on or around February 11, 2021.

       50.     The requested documents included: (1) December 31, 2019 Balance Sheet; (2)

monthly bank reconciliations and bank statements for January 2019 through January 2020; (3)

Aging Accounts Receivables for December 31, 2019, August 30, 2020 and December 31, 2020;

(4) A/R Purchased & Sold Not Paid Yet for December 31, 2019, August 30, 2020 and December

31, 2020; (5) Unbilled JIB for December 31, 2019, August 30, 2020, and December 31, 2020; (6)

Purchase Contracts/Escrow Statements for the new yard Defendant Alltex purchased in Smiley,

Texas in September 2020; (7) Aging Accounts Payable for December 31, 2019, August 30, 2020

and December 31, 2020; and (8) Detailed General Ledger for January 1, 2020 through December

31, 2020.




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       51.    On February 23, 2021, the day SJR’s team was scheduled to travel to Texas,

Defendant R Vera urged to reschedule the visit due to inclement Texas weather. Despite the

inconvenience and last-minute nature of the request, SJR agreed to reschedule the visit to

Defendant Alltex’s offices for March 3, 2021 at 8:00AM.

       52.    Mr. Jefferson arrived at Defendant Alltex’s offices at 08:00AM on March 3, 2021

to find no one there and the doors locked. Mr. Jefferson immediately messaged Defendant R Vera

about the meeting and inquired about the expected time Defendants would arrive at the office to

provide SJR with Defendants’ books and records. Defendant R Vera called Mr. Jefferson and

asked why Mr. Jefferson was at the office stating the meeting was for another day and that they

were not ready. Defendant further informed Mr. Jefferson was trying to close a deal on another

$150,000.00 deal and the office employees were unavailable.

       53.    Defendant R Vera’s bookkeeper allowed Mr. Jefferson into the office. The

bookkeeper did not provide Mr. Jefferson with any of the financial books and records he had asked

for. When Mr. Jefferson asked to look on the computer to inspect the books and records on March

3, 2021, he was told by the bookkeeper that the accounting software was locked due to failure to

pay. When Mr. Jefferson asked to pay the amount owed as a part owner, he was told Defendant

Vera would do it on Friday and SJR was not allowed to do that.

       54.    Despite Defendants’ obligation under at least the September 20, 2020 Agreement,

SJR never received the financial or accounting documents it requested from Defendants. What’s

more, SJR never received the monies it was owed under either the June 29, 2020 Agreement or

September 20, 2020 Agreement.

       55.    Following Defendants refusal to meet with SJR or provide the necessary

accounting, SJR contacted Defendants to demand the return of their investment pursuant to the




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terms of at least the June 29, 2020 Agreement. Defendants never responded to this request.

       56.     To add further injury, SJR was forced to engage legal counsel to protect its rights

that were infringed upon by Defendants and reclaim its property unlawfully appropriated by

Defendants.

       57.     On March 17, 2021 and pursuant to the terms of at least the June 29, 2020

Agreement, SJR sent another correspondence to Defendants demanding the return of its $150,000

capital investment.

       58.     Rather than complying with SJR’s request, Defendants made a representation about

a new contract for oil, and asked Defendants for 90 days to realize the profit and “revisit the

situation.”

       59.     SJR rejected Defendants request, informing Defendants its demand still stood and

the return of funds was expected within the thirty-day timeline as provided in at least the June 29,

2020 Agreement. The funds were never returned to SJR or its representative.

       60.     If Defendants would have made full and honest disclosure of this material

information to SJR, SJR would have intervened to prevent Defendants from engaging in these

unlawful and tortious acts.

       61.     All conditions precedent have been met.

                                             COUNT I
                                   BREACH OF CONTRACTS
                      (Against Defendant Alltex Refinery and Alltex Operating)

       62.     SJR repeats and incorporates by reference herein its allegations contained in the

above paragraphs of this Complaint.

       63.     Two valid contracts existed between SJR and Defendants. The June 29, 2020

Agreement and the September 20, 2020 Agreement.




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       64.    In support of the June 29, 2020 Agreement, written offers were made by

Defendants, which were memorialized in writing, accepted by SJR and signed by both parties.

       65.    SJR performed by providing Defendants significant investment funds and

performed all obligations and complied with all conditions and requirements under the June 29,

2020 Agreement with Defendant Alltex. To the extent SJR has not performed all obligations and

complied with all of the conditions and requirements its performance has been excused, waived,

prevented or made impossible or impracticable by Defendants.

       66.    Defendants breached the June 29, 2020 Agreement by, inter alia, failing to return

the SJR’s financial investment according to the terms of the June 29, 2020 Agreement.

       67.    In support of the September 20, 2020 Agreement, written offers were made by

Defendants, which were memorialized in writing, accepted by SJR and signed by both parties.

       68.    SJR performed by providing Defendants significant investment funds and

performed all obligations and complied with all conditions and requirements under the September

20, 2020 Agreement with Defendants. To the extent that SJR has not performed all obligations and

complied with all of the conditions and requirements his performance has been excused, waived,

prevented or made impossible or impracticable by Defendants.

       69.    Defendants breached the September 20, 2020 Agreement by, inter alia, failing to

provide monthly financial and accounting information, failing to make SJR a member of

Defendant Alltex, failing to give SJR ten percent (10%) equity interest in Defendant Alltex, and

failing to give SJR ownership interest in property purchased in Smiley, Texas by Defendant Alltex

with SJR’s investment capital. Defendant Alltex further breached its obligations under the

September 20, 2020 Agreement by failing to provide both Schedule 1099-MISC and K-1 Partner’s

(or Shareholder’s) Share of Income, Deductions, Credits, etc. from Alltex.




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       70.    As a direct and proximate cause of Defendants’ breaches of the June 29, 2020

Agreement and September 20, 2020 Agreement, SJR suffered damages because it has been

deprived of the bargained-for benefit of its agreements with Defendants.

       71.    Because Defendants failed to comply with the June 29, 2020 Agreement, they are

liable to SJR for recovery of the benefit of the bargain or reliance damages from Defendants,

including but not limited to damages that were a substantial factor and/or the natural, probable,

and foreseeable consequence of Defendants conduct. Such damages include but are not limited to

SJR’s lost profits, fees and expenses incurred to try to secure performance by Defendants, and

damages resulting from delays in payments.

       72.    SJR is also entitled to obtain equitable relief in the form of cancellation or recission

of the June 29, 2020 Agreement. The Court should declare the June 29, 2020 agreement

unenforceable and/or order them rescinded.

       73.    Because Defendants failed to comply with the September 20, 2020 Agreement, they

are liable to SJR for recovery of the benefit of the bargain or reliance damages from Defendants,

including but not limited to damages that were a substantial factor and/or the natural, probable,

and foreseeable consequence of Defendants conduct. Such damages include but are not limited to

SJR’s lost profits, fees and expenses incurred to try to secure performance by Defendants, and

damages resulting from delays in payments.

       74.    SJR is also entitled to obtain equitable relief in the form of cancellation or recission

of the September 20, 2020 Agreement. The Court should declare the September 20, 2020

Agreement unenforceable and/or order them rescinded.

       75.    Alternately, Defendants are liable to SJR for specific performance of the September

20, 2020 Agreement, including a judicial decree that SJR is a ten percent (10%) equity member of




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Defendant Alltex, entitled to ten percent (10%) of Defendant Alltex’s profits and co-owner of the

property located in Smilely, Texas that was purchased with SJR’s investment funds.

       76.     In addition to mandatory injunctive relief and/or damages, SJR is entitled to

compensation for his expenses in this litigation.

                                         COUNT II
                                FRAUDULENT INDUCEMENT
                                   (Against All Defendants)

       77.     To the extent not inconsistent herein, the above allegations contained in paragraphs

1 through 76 of this Complaint are incorporated by reference as if fully set forth herein. This cause

of action is alleged in the alternative or in addition as authorized by FED. R. CIV. P. 8.

       78.     Defendants’ actions were done fraudulently, maliciously, and oppressively.

Plaintiff is therefore entitled to punitive and exemplary damages against Defendants in an amount

sufficient to punish and make an example of them.

       79.     Defendants, by means of a scheme designed to defraud members of SJR of its

investments, made material misrepresentations and omissions of fact to SJR concerning the

financial condition of SJR’s investment as well as the use and misappropriation of SJR’s resources,

fully described above and incorporated herein.

       80.     Defendants fraudulently induced SJR into entering into the June 29, 2020

Agreement by knowingly misrepresenting Defendants’ ability and/or willingness to pay SJR

returns on its investment and to return SJR’s investment within 30 days if and when SJR requested

such a return. In doing so, Defendants made materially false statements, with knowledge of their

falsity or asserted without knowledge of their truth, with the intention that they should be acted on

by SJR, which SJR relied upon, and which caused injury to SJR by entering into the June 29, 2020

Agreement which SJR would otherwise not have entered. As a result, SJR is entitled to recover




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actual damages including either benefit-of-the-bargain damages (measured by the difference

between the value as represented and the value received) or out-of-pocket damages (measured by

the difference between the value expended versus the value received).

       81.     Defendants fraudulently induced SJR into entering into the September 20, 2020

Agreement by knowingly misrepresenting Defendants ability and/or willingness to make SJR a

member of Defendant Alltex, to give SJR an equity share of Defendant Alltex’s profits, and to

own a share of the property located in Smiley, Texas. In doing so, Defendants made materially

false statements, with knowledge of their falsity or asserted without knowledge of their truth, with

the intention that they should be acted on by SJR, which SJR relied upon, and which caused injury

to SJR by entering into the September 20, 2020 Agreement which SJR would otherwise not have

entered. As a result, SJR is entitled to recover actual damages including either benefit-of-the-

bargain damages (measured by the difference between the value as represented and the value

received) or out-of-pocket damages (measured by the difference between the value expended

versus the value received).

       82.     Defendants made the representation with the intent for SJR to act on it by entering

into a contract and by providing investment funds to Defendants.

       83.     SJR acted in reliance upon the representation by entering into the contracts and

providing a substantial amount of financial capital to Defendants. Defendants therefore

fraudulently induced SJR to enter into the June 29, 2020 Agreement, the September 20, 2020

Agreement, and to provide $150,000.00 in monies.

       84.     As a proximate result of such fraud, SJR sustained damages in an amount to be

demonstrated at trial but believed in excess of $150,000.00. Plaintiff expects to receive more

information regarding the actual amounts of damages during discovery




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                                 COUNT III
             FRAUDULENT MISREPRESENTATION AND CONCEALMENT
                           (Against All Defendants)

       85.     To the extent not inconsistent herein, the above allegations contained in paragraphs

1 through 84 of this Complaint are incorporated by reference as if fully set forth herein. This cause

of action is alleged in the alternative or in addition as authorized by FED. R. CIV. P. 8.

       86.     Defendants’ actions were done fraudulently, maliciously, and oppressively. SJR is

therefore entitled to punitive and exemplary damages against Defendants in an amount sufficient

to punish and make an example of them.

       87.     Defendants, by means of a scheme designed to defraud members of SJR of its

investments, made material misrepresentations and omissions of fact to SJR concerning the

financial condition of SJR’s investment as well as the use and misappropriation of SJR’s resources,

fully described above and incorporated herein.

       88.     After entering into the June 29, 2020 Agreement and continuing after entering into

the September 20, 2020 Agreement, Defendants and its agents, including Defendant R Vera, made

misrepresentations in the course of its business, or in a transaction in which it has a pecuniary

interest, for the guidance of SJR in their business; Defendants and its agents, including Defendant

R Vera, failed to exercise reasonable care or competence in obtaining or communicating the

information about the investment proceeds, financial statements of Defendant Alltex Refinery

payments owed to SJR under the July 29, 2020 Agreements, use of SJR’s investment funds,

ownership of property purchased with SJR’s investment funds, membership in Defendant Alltex

Refinery; and SJR suffered pecuniary loss by justifiably relying on the misrepresentations. These

negligent misrepresentations permit recovery of losses sustained by SJR caused by the

misrepresentations, other than SJR’s benefit of June 29, 2020 Agreement and September 20, 2020




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Agreement, such as expenses, fees, and costs that SJR incurred after entering into the June 29,

2020 Agreement and September 20, 2020 Agreement that it would not have but for those post-

Agreement misrepresentations.

                                         COUNT IV
                           VIOLATION OF TEXAS SECURITIES ACT
                                   (Against All Defendants)

        89.       To the extent not inconsistent herein, the above allegations contained in paragraphs

1 through 88 of this Complaint are incorporated by reference as if fully set forth herein. This cause

of action is alleged in the alternative or in addition as authorized by FED. R. CIV. P. 8.

        90.       Section 4.A of the Securities Act defines securities to include any “investment

contract.” The investment opportunities offered for sale and sold by Defendants to Plaintiff for

investor profit constitute investment contracts and, therefore, are securities as defined by the

Securities Act.

        91.       There was investment of money by Plaintiff, a common enterprise in Defendant

Alltex with an expectation of profits by Plaintiff, and Plaintiff did not make any significant efforts

to manage or obtain the profits in return on the investment, and the efforts made by Defendant

Vera on behalf of Defendants were undeniably significant and affected the failure and success of

the enterprise/investment opportunity, those essential managerial efforts which affect the failure

or success of the enterprise. There was an expectation of profits, and Defendants enticed potential

investors, such as Plaintiff, with substantial rates of return.

        92.       After the investment of funds by Plaintiff in the amount of $100,000.00 and

$50,000.00 respectively, Plaintiff had no duties other than to wait on its profits or returns. Plaintiff

had no way to remove Defendants from continually committing fraud, or any way to prevent

Defendants from continually causing them harm. The investment opportunities offered for sale




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and sold to Plaintiff by Defendants were investment contracts; thus, Defendants are selling

securities under Texas law.

        93.     These securities offered for sale and sold by Defendants are not on information and

belief registered with the Commissioner as required by Section 7 A(1) of the Securities Act, and

nor has a permit been granted for the sale of such securities as required by Section 7 of the Securities

Act.

        94.     Section 12.A of the Securities Act requires that all persons selling or offering to

sell securities in Texas must be registered under the Act. During the period that securities were

sold and offered for sale, Defendants were not registered as dealers or agents as required by Section

12.A of the Securities Act.

        95.     The use of fraud and fraudulent practices in connection with the offer for sale and

sale of securities is prohibited by Sections 4.F, 25-1, and 32.A of the Securities Act. Defendants,

in the issuance, sale, promotion, negotiations, advertisement, or distribution of securities in the

State of Texas, have engaged in fraud and fraudulent practices by misrepresenting material facts

and intentional failing to disclose material facts as outlined above. Defendants, with intent to

deceive or defraud or with reckless disregard for the truth or the law, have materially aided, and

are materially aiding, one another in the fraudulent practices set forth above.

        96.     As a result of these violations, and pursuant to § 581-33(D)(1) of the Texas

Securities Act, Plaintiff is entitled to have the above-alleged transactions, including the June 29,

2020 Agreement and September 20, 2020 Agreement rescinded, and, upon tender of the securities,

to recover from the Defendants: (a) the consideration paid for the securities plus interest thereon

at the legal rate from the date of purchase by the Plaintiff; (b) plus costs and attorney’s fees; (c)

less the amount of any income Plaintiff received from the securities prior to their tender.




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                               COUNT V
  VIOLATION OF SECTION 10(b) AND SECTION 10(b)-5 OF THE UNITED STATES
                     SECURITIES EXCHANGE ACT
                         (Against All Defendants)

       97.       To the extent not inconsistent herein, the above allegations contained in paragraphs

1 through 96 of this Complaint are incorporated by reference as if fully set forth herein. This cause

of action is alleged in the alternative or in addition as authorized by FED. R. CIV. P. 8.

       98.       As more fully set forth in the factual allegations above, Defendants, through the use

of the mails and the means and instrumentalities of interstate commerce, fraudulently induced

Plaintiff to purchase investments, being marketed by Defendants through the use of materially

false and misleading written statements via e-mail and text message, sales materials and oral

presentations.

       99.       Defendants knowingly transmitted to Plaintiff and disseminated, directly and

through its agents, materially false and misleading statements, as more fully described above,

describing and recommending the purchase of the securities purchased by Plaintiff.

       100.      At the time of the misstatements and omissions described above, Defendants knew

or should have known that such statements were materially false and misleading and omitted facts

required in order to make the statements made, in light of the circumstances under which they were

made, not misleading, but knowingly or recklessly made such statements to Plaintiffs in order to

induce them to purchase the investments.

       101.      Plaintiff reasonably relied upon the information provided to it and statements made

by Defendant Alltex and its agent, Defendant R Vera, recommending the purchase of the securities

in Defendants’ oil and gas purchasing business. At the time of such investments, Plaintiff had no

knowledge that the information and recommendations provided by Defendants contained material




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misstatements and omissions. Plaintiff would not have purchased the securities but for the

materially false and misleading information provided to them by Defendants.

       102.    Because of Defendants’ material misrepresentations and omissions, and as a result

of their investments, Plaintiff has suffered damages including the substantial depletion of its

original investment capital.

       103.    By engaging in the conduct described above, each of the defendants violated, and

unless restrained and enjoined will continue to violate, Section 10(b) of the Exchange Act, 15

U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R. § 240.10b-5.

                              COUNT VI
 RACKETEER INFLUENCED AND CORRUPT ORGANIZATION ACT VIOLATIONS
                   (Against Defendant Russell L. Vera)

       104.    To the extent not inconsistent herein, the above allegations contained in paragraphs

1 through 103 of this Complaint are incorporated by reference as if fully set forth herein. This

cause of action is alleged in the alternative or in addition as authorized by FED. R. CIV. P. 8.

       105.    Defendant R Vera’s scheme as alleged herein to defraud SJR out of investment

funds violates 18 U.S.C § 1962(c).

       106.    Pursuant to 18 U.S.C. § 1964(c), RICO provides a private right of action to any

person injured in his business or property by reason of a violation of section 18 U.S.C. § 1962.

SJR qualifies as such a person, and it has been directly and proximately injured in its businesses

by the fraudulent acts of Defendant R Vera that induced SJR into the bogus Investment Scheme

and induced SJR into incurring additional expenses after the initial investment scheme.

       107.    Defendant R Vera, the RICO individual, violated § 1962(c) of RICO because he

was employed by or associated with RICO enterprises, Alltex Refinery and Alltex Operating, that

were/are engaged in, or the activities of which affect, interstate or foreign commerce—and




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Defendant R Vera conducted or participated, directly or indirectly, in the conduct of Alltex

Refinery’s and Alltex Operating’s affairs through a pattern of racketeering activity. Alltex

Refinery and Alltex Operating are Texas companies, SJR is a New Mexico company, and the

investment opportunities were located in Texas.

        108.   Defendant R Vera’s pattern of racketeering activity by which he conducted and

participated in Alltex Refinery’s and Alltex Operating’s affairs includes wire fraud, that is, the

multiple text messages, emails and attachments sent by him (or by an agent acting under his

authority) to SJR both before and after the investment. Such text messages and emails were sent

via interstate wire to execute Defendant R Vera’s scheme to defraud and harm SJR, to obtain

money by false pretenses, and to further conceal the scheme. Additionally, Defendant R Vera

needed to conceal the scheme for as long as possible so that he could continue to induce SJR to

make a second investment and to induce other borrowers into investments based on

misrepresentations concerning Defendant R Vera’s intent with respect to investments in his oil and

gas businesses and sales of shares of his oil and gas business.

        109.   Defendant R Vera’s acts of racketeering activity are related, and they pose a threat

of continuing criminal activity. The acts are related because they involve the same or similar

purposes, participants, victims, and methods of commission, and are not isolated events. The acts

also pose a threat of continuing criminal activity over an open period of time because they are the

regular way in which Defendant R Vera conducts Alltex Refinery’s and Alltex Operating’s affairs,

and the acts are such that Defendant R Vera may utilize such acts in the future with respect to other

investors, through either Alltex Refinery, Alltex Operating, or any subsequently organized

companies. The acts were also continuous over a closed period time, from June 2020 to February

2021.




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                                     COUNT VII
                     VIOLATION OF TEXAS THEFT LIABILITY ACT
                               (Against Defendant Vera)

       110.    To the extent not inconsistent herein, the above allegations contained in paragraphs

1 through 109 of this Complaint are incorporated by reference as if fully set forth herein. This

cause of action is alleged in the alternative or in addition as authorized by FED. R. CIV. P. 8.

       111.    Under the Texas Theft Liability Act, a person who commits theft by unlawfully

appropriating property with intent to deprive the owner of property is liable for the resulting

damages. Tex. Civ. Prac. & Rem. Code Ann. §§ 134.002(2), 134.003(a) (Vernon 2005); Tex. Penal

Code Ann. § 31.03(a) (Vernon Supp. 2009).

       112.    As agent of Defendant Alltex Refinery and Defendant Alltex Operating, Defendant

R Vera had direct and/or indirect control and possession of partner funds and resources, including

those of SJR, in the amount of at least $150,000.00.

       113.    Defendants misappropriated and/or and unlawfully took SJR funds and resources,

as well as income distribution payments owed to SJR, with intent to deprive SJR, the owner of

property, of said funds and resources.

       114.    In one instance, Defendants took and unlawfully used for its own benefit investment

funds in an amount of $150,000.00 plus income distributions owed to SJR to purchase property

located in Smiley, Texas for its own benefit.

       115.    In addition to the actual damages sustained, SJR is also entitled to recover its

reasonable and necessary attorney’s fees under the Texas Theft Liability Act.

                                    COUNT VIII
                           BREACH OF FIDUCIARY DUTY
                              (Against Defendant Vera)




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       116.    To the extent not inconsistent herein, the above allegations contained in paragraphs

1 through 115 of this Complaint are incorporated by reference as if fully set forth herein. This

cause of action is alleged in the alternative or in addition as authorized by FED. R. CIV. P. 8.

       117.    As agent of Defendant Alltex Refinery and Defendant Alltex Operating, Defendant

R Vera owed a fiduciary duty to SJR by and through the contractual agreements with SJR and by

SJR entrusting investment funds to Defendants.

       118.    Defendant Vera breached his duty to provide material information relating the

financial status of Defendant Alltex Refinery and Defendant Alltex Operating, SJR’s investment

and payments owed to SJR. Defendants also concealed material information from SJR and failed

to disclose certain facts known to Defendants. Specifically, Defendants failed to disclose the

accounting and financial information owed to SJR relating to the payments it was entitled to

receive under the agreement.

       119.    Defendants were intentionally silent when they had a duty to share the information

known to them regarding the foregoing acts.

       120.    But for Defendant R Vera’s breach and failure to disclose material facts, SJR would

not have suffered financial harm and would have intervened to prevent Defendant Vera from

engaging in these unlawful and tortious acts.

       121.    SJR has suffered actual damages as a result of Defendant Vera’s conduct and breach

of his fiduciary duty.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

           a. SJR is entitled to actual damages in an amount to be proven the hearing, plus a

               statutory minimum sum not to exceed $1,000.00 per act of theft, plus attorney’s




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          fees;

       b. Compensatory, actual, unjust enrichment, and consequential damages, as to each

          Defendant as to each claim;

       c. Exemplary damages under Section 41 .003(a)(1) of the Texas Civil Practice and

          Remedies Code, as Defendants perpetrated a fraud upon and acted with malice with

          respect to SJR;

       d. An accounting to determine the precise amounts of damages to be awarded to SJR

          caused by Defendants;

       e. Attorney’s fees incurred in the prosecution of this action pursuant to, Texas Civil

          Practice & Remedies Code Sections 38.001, including all fees necessary in the

          event of a judicial enforcement of this arbitration award and all appeals of this cause

          to the Court of Appeals or Texas Supreme Court, as the deemed equitable and just;

       f. In the alternative, recission of the July 29, 2020 Agreement and September 20, 2020

          Agreement;

       g. Restitution;

       h. Constructive trust;

       i. Receivership;

       j. Disgorgement;

       k. Equitable relief;

       l. In the alternative, appropriate injunctive relief such as specific performance of the

          September 20, 2020 Agreement;

       m. In the alternative, Judicial Dissolution of Alltex Refinery LLC;

       n. Costs and expenses incurred;




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         o. Pre-judgment and post-judgment interest; and

         p. Such other and further relief to which SJR may be entitled at law or in equity;

         q. Award of any and all other relief that this Court deems just and proper.

DATED: July 23, 2021

                                                  Respectfully submitted,


                                                  /s/ Mateo Z. Fowler
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